     Case 2:14-cr-00168-TOR          ECF No. 2681         filed 01/07/21      PageID.10872 Page 1 of 4
 PROB 12C                                                                            Report Date: January 7, 2021
(6/16)

                                       United States District Court                                FILED IN THE
                                                                                               U.S. DISTRICT COURT
                                                                                         EASTERN DISTRICT OF WASHINGTON
                                                     for the
                                                                                          Jan 07, 2021
                                       Eastern District of Washington
                                                                                              SEAN F. MCAVOY, CLERK


                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Randy Edsal Quentin Hewson              Case Number: 0980 2:14CR00168-WFN-9
 Address of Offender:                    Spokane, Washington 99204
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Date of Original Sentence: June 17, 2015
 Original Offense:       Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:      Prison - 12 months;               Type of Supervision: Supervised Release
                         TSR - 48 months


 Revocation              Prison- 7 months
 Sentence                TSR - -48 months
 July 19, 2016

 Revocation              Prison - 10 months
 Sentence                TSR - 43 months
 May 4, 2017

 Revocation              Prison - 6 months and 15 days
 Sentence                TSR - 24 months
 January 17, 2019

 Revocation              Prison - 4 months and 8 days
 Sentence                TSR- 24 months
 October 17, 2019
 Asst. U.S. Attorney:    James Goeke                       Date Supervision Commenced: October 18, 2019
 Defense Attorney:       Roger Peven                       Date Supervision Expires: October 17, 2021


                                        PETITIONING THE COURT

To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:
   Case 2:14-cr-00168-TOR         ECF No. 2681         filed 01/07/21      PageID.10873 Page 2 of 4
Prob12C
Re: Hewson, Randy Edsal Quentin
January 7, 2021
Page 2

Violation Number   Nature of Noncompliance

          1        Standard Condition # 2: After initially reporting to the probation office, you will receive
                   instructions from the court of the probation officer about hose and when you must report to
                   the probation officer, and you must report to the probation officer as instructed.

                   Supporting Evidence: It is alleged that Randy Hewson violated the terms of his supervised
                   release by failing to make contact with his U.S. probation officer as directed, on or about
                   December 31, 2020, or since.

                   On October 18, 2019, supervision commenced in this matter. A supervision intake was
                   completed that same day. The judgment was reviewed with Mr. Hewson and he signed his
                   intake documents indicating an understanding of the conditions imposed by the Court to
                   include standard condition number 2, noted above.

                   Mr. Hewson was accepted into the Sobriety Treatment and Education Program (STEP) in
                   November 2019 and attended his first STEP session on November 21, 2019. He was placed
                   on the color red for random urinalysis testing.

                   On December 22, 2020, the undersigned sent Mr. Hewson a text message requesting status
                   of a recent COVID-19 test. Mr. Hewson did not respond.

                   On December 30, 2020, after several more attempts to reach Mr. Hewson, contact was made
                   with him by phone. Mr. Hewson claimed that he went to the doctor that day and the doctor’s
                   office requested he get tested for COVID-19 as a part of their protocol for COVID-19
                   precautions. He advised he would be getting tested for COVID-19 again that day.

                    Mr. Hewson was directed to provide documentation by the next day of the doctor’s office
                   request, documentation of his previous COVID-19 test, as well as proof of his COVID-19
                   test from that day.

                   The undersigned left voice mails and text messages on December 31, 2020, and January 4
                   and 5, 2021, requesting the COVID-19 testing documentation, as well as a return phone call.
                   On January 5, 2021, the undersigned attempted to contact Mr. Hewson in person at this
                   residence. A business card was left with a hand written note directing Mr. Hewson to
                   contact the undersigned.

                   There has been no contact with Mr. Hewson since December 30, 2020.


          2        Special Condition #5 : You must abstain from the use of illegal controlled substances, and
                   must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                   no more than 6 tests per month, in order to confirm continued abstinence from these
                   substances.

                   Supporting Evidence: It is alleged that Randy Hewson violated the terms of his supervised
                   release by failing to submit to random urinalysis testing as directed, on or about December
                   4, 8, 9, 14, 18, 21, 24, 30 and 31, 2020, and January 4, 2021.
   Case 2:14-cr-00168-TOR     ECF No. 2681         filed 01/07/21     PageID.10874 Page 3 of 4
Prob12C
Re: Hewson, Randy Edsal Quentin
January 7, 2021
Page 3

                On October 18, 2019, supervision commenced in this matter. A supervision intake was
                completed that same day. The judgment was reviewed with Mr. Hewson and he signed his
                intake documents indicating an understanding of the conditions imposed by the Court to
                include special condition number 5, noted above.

                Mr. Hewson was accepted into the Sobriety Treatment and Education Program (STEP) in
                November 2019 and attended his first STEP session on November 21, 2019. He was placed
                on the color red for random urinalysis testing and reminded to call daily and appear for
                testing on the days the color red is called.

                On November 10, 2020, Mr. Hewson was sanctioned to reside at a residential reentry center
                (RRC).

                On December 3, 2020, he was granted discharge from the RRC and was directed to resume
                random drug testing on the color red. Since his discharge from the RRC, he has failed to
                appear for any random urinalysis testing.

                He failed to appear for testing on December 4, 8, 9, and 14, 2020, and has since reported
                COVID-19 related concerns, therefore, has further not submitted to drug testing on
                December 18, 21, 24, 30, and 31, 2020. He had been asked multiple times to provide
                verification that he was tested for COVID-19, but has failed to do so.

                On December 30, 2020, he was again directed to get COVID-19 tested that same day and
                to submit proof of his previous COVID-19 test. He was further directed to contact the
                undersigned the following day with documentation of testing on December 30, 2020, as well
                as previous tests.

                On January 4, 2021, he failed to appear for a random urinalysis test.

                There has been no contact with Mr. Hewson since December 30, 2020. The USPO has left
                him multiple messages with no response.


          3     Standard Condition # 13: You must follow the instructions of the probation officer related
                to the conditions of supervision.

                Supporting Evidence: It is alleged that Randy Hewson violated the terms of his supervised
                release by failing to provide documentation to prove he has been tested for COVID-19, on
                or about December 17, 2020, or since.

                On October 18, 2019, supervision commenced in this matter. A supervision intake was
                completed that same day. The judgment was reviewed with Mr. Hewson and he signed his
                intake documents indicating an understanding of the conditions imposed by the Court to
                include standard condition number 13, noted above.

                Mr. Hewson was accepted into the Sobriety Treatment and Education Program (STEP) in
                November 2019 and attended his first STEP session on November 21, 2019. He was placed
                on the color red for random urinalysis testing and reminded to call daily and appear for
                testing on the days the color red is called.
Case 2:14-cr-00168-TOR   ECF No. 2681   filed 01/07/21   PageID.10875 Page 4 of 4
